                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 UNITED STATES OF AMERICA                )
                                         )
 v.                                      )                          1:06-cr-69
                                         )
 MYRON BAKER,                            )                          Chief Judge Curtis Collier
       also known as “Flush,”            )
       also known as “Big,”              )
 RODNEY BATES,                           )
       also known as Chuck Bates,        )
 RODERICK BATES,                         )
       also known as Eric Bates,         )
 ALONZO TRAMMELL,                        )
       also known as “Jap,”              )
 FITZGERALD BIBBINS,                     )
       also known as Fitzgerald Billups, )
 RANDALL TAYLOR,                         )
       also known as “Hollywood,”        )
 MAURICE JONES,                          )
       also known as “Yellow Boy,”       )
 LENITA DAVE,                            )
       also known as Lenita Calloway,    )
       also known as Nita Dave,          )
 FREGINALD CONYERS,                      )
       also known as Fred Conyers        )
 JERMAINE BAKER,                         )
       also known as “Maine,”            )
 LEONTIA JASON BLACKMON,                 )
       also known as “Tater Bug,”        )
 JEFF SPIVEY,                            )
       also known as “Jazzy”             )

                                             ORDER

        Before the Court are the Government’s Motion for Continuance of Trial Date (Court File No.

 100) and Defendant Fitzgerald Bibbins’(“Defendant Bibbins”) Motion to Continue Plea, Motion,

 and Trial Dates (Court File No. 99). The trial is currently set on September 5, 2005. Defendant

 Bibbins entered into a plea agreement with the Government on August 29, 2006. As a result of

 Defendant Bibbins’ plea agreement, all apprehended defendants in this case have entered into plea



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 agreements with the Government. Thus, Defendant Bibbins’ Motion to Continue Plea, Motion, and

 Trial Dates (Court File No. 99) and the Government’s Motion for Continuance of Trial Date (Court

 File No. 100) are DENIED as MOOT.



        SO ORDERED.

        ENTER:



                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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